 

Case 4:19-cv-00589-O-BP Document1 Filed 07/29/19 Page1lof5 PagelD1
UNITED STATES DISTRICT COERE ¢ CiSTRICT COURT

FOR THE NORTHERN DISTRICT OF AHR AB Vis:08

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MHZ,
Civil Action No.
Dwar LOW. Nay Los”
Defendant
COMPLAINT
See Aibachked
FEot Chere # ¥50-2017-01327
* Attach additional pages as needed.
Date 2124) ZOLF
Signature Yost wig Tit q[3/ 2014 a.
Print Name ‘Raw \ Win Cieiing ‘bdcess) I Cx gfe Wddress
Address 3S7lL S. Veer fle. to 20% | UFID Wiira 9 @. ct, 4 Hos”
City, State, Zip _Ssoux Falls, SO S710b Ex tess, TX T6040

Telephone S(J-69( -0o asc
 

EEOC Fam 161 nihepASe 4:19-CV-OO3RE:BdwRL EMPLONRENT OPFBRTUNAY C@mutssier Of 5 PagelD 2
DISMISSAL AND NOTICE OF RIGHTS

 

 

 

 

To: Paul E. Wipf From: + Datlas District Office

4712 Mirage Ct 207 S. Houston St.

Apt # 1405 3rd Floor

Euless, TX 76040 Dallas, TX 75202

[] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a)}
EEOC Charge No. EEOC Representative Telephone No.
Patrick W. Alexander,

450-2017-01327 Investigator (214) 253-2881

 

THE EEOC JS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did nol involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EECC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

HO BOUUOUO

Other (briefly state)

- NOTICE OF SUIT RIGHTS -
(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations tha{ occurred more than 2 years (3 years)
before you file suit may not be collectible.

 

 

On behalf of the Commission
CSC ft [rary
Enclosures(s) Belinda F. McCallister, (Date Mailed)
, District Director

Karen Gillen

’ Associate General Counsel
American Airlines, Inc.
4333 Amon Carter Bivd.
MD5675
Fort Worth, TX 76155
 

y ORLCL Nf
" Case 4:19-cv-00589-O-BP Document1 Filed 07/29/19 Page3of5 PagelD 3

EEOC Form 5 (11/09)

 

 

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [J FEPA
Statement and other information before completing this form.
[X] EEoc 450-2017-01327
Texas Workforce Commission Civil Rights Division and EEOC
State or local Agency, if any

Name (indicate Mr, Ms., Mrs.) Home Phone (inci. Area Code) Date of Birth
Mr. Paul E. Wipf (817) 691-0230 1960
Street Address City, State and ZIP Code

2311 W. Grapevine Mills Circle, Apt # 4309, Grapevine, TX 76051

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code)
AMERICAN AIRLINES INC 500 or More (817) 963-4355
Street Address City, State and ZIP Code

P, O.Box # 619616, Dfw Airport, TX 75261
RECEIVED 1...

 

 

 

 

 

Name No. Employees, Members Phone No, (include Area Code)
EEOC Dallas |2017.01.33
; - oF DO ADWAL —A-1LO Oo
Street Address City, State and ZIP Code District Office Y77t0-7FO “UO UU
DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

[| RACE [] COLOR [| SEX [] RELIGION [| NATIONAL ORIGIN 04-29-2016 01-23-2017
[] RETALIATION AGE [| DISABILITY [] GENETIC INFORMATION

[| OTHER (Specify) CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)):
1. PERSONAL HARM: Since April 2016 | have applied for multiple positions that | was very
qualified for to include GM positions at: Louisville, Kentucky; Tucson, Arizona; (Salt Lake City, Utah;
Long Beach, California were also available for this pool of candidates); Tulsa, Oklahoma; and
Houston, Texas. | also applied for a CSM position in Jacksonville, Florida. | was not offered an
interview for most of these positions and was not selected for any of these positions.

2. RESPONDENT’S REASON FOR ADVERSE ACTION: | have not been given any specific reason
for not being interviewed or selected for these positions.

3. DISCRIMINATION STATEMENT: | believe that 1 was discriminated against because of my age-
56, in violation of the Age Discrimination in Employment Act of 1967.

 

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

procedures. | swear or affirm that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT 0 C

Poul waif SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
Jan 23, 2017 (month, day, year)
Date Charging Party Signature f be-ouw

 

 

 

 

 

 
 

 

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CONTINUED COMPLAINT

BRIEF STATEMENTS

6/29/17 Applied and interviewed for SDF (Louisville, KY) General Manager
Candidate selected 11.5 years younger and | have 7.5 years more experience plus
11 years of General Manager experience. Candidate selected did not. One of the
hiring managers called to let me know that my 11 years of

General Manager was not current as it was from 1994-2002. She said two age
discriminatory remarks to me. She said American is getting

away from the Ole Crandall days. Meaning it was from long ago.

11/14/17 |OC Load Planning Supervisor (two positions open)

Applied and was interviewed. Hiring manager called me to say | was not selected as she

wanted Instructor experience. Nowhere on job description did it say that. Both of those positions
went to two people half my age, they were both 32 years old. | was age 56 at the time

and they did not have near the qualifications | had.

3/19/19 Sioux Falls, SD General Manager with Envoy/American

| applied and interviewed and was told | was not selected. Candidate selected was age 29
and had 2 years of GM and | had 11 years. Plus the fact | was GM of this Sioux Falls, SD
Station for 8 years from 1994-2002. Envoy is part of American and its name was changed
In 2014 from American Eagle. | was also American Eagle GM in Richmond, VA so it was

same company.

2005-2008 age discrimination. | would like to speak to the judge and ask him if | can
add this in because it ties in with my age discrimination of GM Tucson, AZ case. | can
explain all of this to the judge and see if he will make exception and allow me to enter

this as part of my evidence.
13.44 Rev. 0617) PASRA LA; CV-00589-0-BP CRO gy meafytp Riley pHq9/19 PagesofS PagelD5

The JS 44 civil cover sheet and the information contained herein neither replace nor su
provided by local rules of court. This form, approved by the Judicial Conference of th
(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

purpose of initiating the civil docket sheet.

ipprement the filing and service of pJeadings or other papers as required by law, except as

nited States in. September 1974, is required for the use of the Clerk of Court for the

 

I. (a) PLAINTIFFS

(b) County of Residence of First Listed Plaintiff VTayr owt

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

DEFENDANTS

County of Residence of First Listed Defendant { a COA st

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

Attomeys (if Known)

 

 

J. BASIS OF JURISDICTION (Piace an "X” in One Box Only)

iY Federal Question

(U.S. Government Not a Party}

U.S. Government
Plaintiff

o1

O 2 U.S. Goverment
Defendant

4° Diversity
(indicate Citizenship of Parties in liem J1])

 

 

V. NATURE OF SUIT (Place an x in One Box Only)

0 130 Insurance PERSONAL INJURY PERSONAL INJURY

O 120 Marine O 310 Airplane O 365 Personal Injury -

O 130 Miller Act © 315 Airplane Product Product Liability

fF 140 Negotiable Instrument Liability CF 367 Health Care/

O 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment Slander Personal Injury

0} 353 Medicare Act 0 330 Federal Employers’ Product Liability

O 152 Recovery of Defaulted Liability 11 368 Asbestos Personal
Student Loans 0 340 Marine Injury Product
(Excludes Veterans) 0D 345 Marine Product Liability

O 153 Recovery of Overpayment Liability PERSONAL PROPERTY [.
of Veteran’s Benefits 350 Motor Vehicle C} 370 Other Fraud

CF 160 Stockholders’ Suits 0D 355 Motor Vehicle © 371 Truth in Lending

© 190 Other Contract Product Liability 1 380 Other Personal

0) 195 Contract Product Liabihty [1 360 Other Personal Property Damage

© 196 Franchise Injury O 385 Property Damage

CF 362 Personal Injury - Product Liability
Medical Malpractice

 

   
 

CIVIL RIGHTS

O 230 Land Condemnation 0 440 Other Civil Rights Habeas Corpus:
O 220 Foreclosure 0 44) Vong OC 463 Alien Detainee
O 230 Rent Lease & Ejectment ‘442 Employment OC 510 Motons to Vacate
OD 240 Torts to Land O 443 Housing/ Sentence
O 245 Tort Product Liability Accommodations C1 530 General
CF 290 All Other Real Property 0 445 Amer. w/Disabilites - | 535 Death Penalty
Employment Other:
0 446 Amer, w/Disabilites - | 540 Mandamus & Otber
Other CF 550 Civil Rights
G 448 Education 0 555 Prison Condition
D 560 Civil Detainee -

Conditions of
Confinement

 

 

   
 

 

PRISONER PETIFIONS: 3

0 462 Naturalization Application

 

UW. CITIZENSHIP OF PRINCIPAL PARTIES (Place on “x” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)
PIF DEF PTF DEF
Citizen of This State oj O 3 Incorporated er Principal Place 504 04
of Business In This State
Citizen of Another State O 2 QO. 2 Incorporated and Principal Place 565 085
of Business In Another State
Citizen or Subject of a 0 3 O 3 Foreign Nation o6 6

Foreign Country
Chick here for: Nature of Suit Code Descri ptions.

{7 625 Drug Related Seizure
of Property 2] USC 881
D6 690 Other

O 422 Appeal 28 USC 158
0 423 Withdrawal
28 USC 157

0 375 False Claims Act

O 376 Qui Tam (31 USC
3729(a))

400 State Reapportonment

40) 430 Anttrust

0 430 Banks and Banking

O 450 Cornmerce

O 460 Deportation

O 470 Racketeer Influenced and
Corrupt Organizations

 

O 820 Copyrights

D0 830 Patent

0 835 Patent - Abbreviated
New Drug Application

O 840 Trademark

 

 

‘ SOCIAL SECURIFY. 2} 0 480 Consumer Credit
O 710 Fair Labor Standards O 86) HIA (1395ff) 0 490 Cable/Sat TV
Act © 862 Black Lung (923) (1 850 Securites/Commodities/
0 720 Labor/Management 0 863 DIWC/DIWW (405{g)) Exchange
Relations O 864 SSID Title XVI (3 890 Other Statutory Actions
0 740 Railway Labor Act O 865 RSI (405(g)) O 89) Agricultural Acts
OD 751 Family and Medical ( 893 Environmental Matters
Leave Act 895 Freedom of Information
0 790 Other Labor Lingation SVREDERAL TAX SUITS: | Act
0 79] Employee Retirement 0 870 Taxes (US. Plaintiff OD 896 Arbitration
Income Security Act or Defendant) 0 899 Administrative Procedure
D 87) IRS—Third Party Act/Review or Appeal of
26 USC 7609 Agency Decision
[ 950 Constitutionality of

State Statutes

 

IMMIGRATION

 

0 465 Other Immigration
Actions

 

 

 

V. ORIGIN (Place an "'X” in One Box Only)

0) 2 Removed from
State Court

Remanded from 04

Appellate Court

Oniginal 0 3

Proceeding

Reinstated or © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

 

VI. CAUSE OF ACTION

Brief description of cause:

 

 

VII. REQUESTED IN (] CHECK IF THIS IS A CLASS ACTION

DEMAND $ CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: O Yes No
Vill. RELATED CASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER
/ 249 / Y wt OF ATTORNEY OF RECORD
FOR ore USE Mad ! 4 ad ~
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
